 Case 8:21-cv-01473-CJC-JDE Document 1-21 Filed 09/08/21 Page 1 of 6 Page ID #:1073
                                                                                                LOG IN
                                                             WHITE               BUYER'S    I REGISTER
                                       SUBSCRIBE   VIDEOS   PAPERS    WEBCASTS    GUIDE

NETWORK        FTTX       NETWORK          DATA         5G           TEST   OPTICAL        BUSINESS
DESIGN                    AUTOMATION       CENTER       MOBILE              TECH




   BUSINESS         COMPANIES


   Court awards Viasat $49.3 million in
   damages in SDFEC IP suit against
   Acacia Communications
   Viasat says it plans to pursue further financial awards at Acacia’s expense,
   including additional royalty damages for breach of contract as well as
   attorney’s fees.
   Stephen Hardy
   Jul 17th, 2019




                                                                                                    X
Case 8:21-cv-01473-CJC-JDE Document 1-21 Filed 09/08/21 Page 2 of 6 Page ID #:1074




 Viasat Inc. (NASDAQ:VSAT) says it received               LATEST IN COMPANIES


                                                          Companies
 a                                                        CommScope
 damages                                                  CTO Morgan
                                                          Kurk leave…
 award of                                                 Stephen
                                                                  Jul
                                                          Hardy
 $49.3                                                            20th,
                                                                  2021
 million
 from a                                                 ta Center
                                                        erconnectivity
 jury in                                                gital Realty,
 the                                                    ookfield
                                                        frastructure…
 Superior                                              ephen
                                                             Jul 20th,
                                                        rdy
 Court for                                                   2021

 San                                                      Data Center
 Diego                                                    Colt Data
                                                          Centre
 County                                                   Services t…
 after the                                                Stephen
                                                                  Jul
                                                          Hardy
 panel                                                            20th,
                                                                  2021
 agreed
                                                          SPONSORED
 with                                                     CONTENT
                                                          Learn More
 Viasat’s
                                                          Better
 assertion                                                Technology.
                                                          Better…
 that
 Acacia Communications (NASDAQ: ACIA)                     Companies

 violated intellectual property law in its use of         Everstream
                                                          adds debt
 Viasat soft-decision forward error correction            financing…
 (SDFEC) technology. Viasat says it plans to              Stephen
                                                                  Jul
                                                          Hardy                      X
                                                                  13th,
 pursue further financial awards at Acacia’s                      2021

 expense, including additional royalty damages
 for breach of contract as well as attorney’s fees.
Case 8:21-cv-01473-CJC-JDE Document 1-21 yFiled 09/08/21 Page 3 of 6 Page ID #:1075


 Acacia had not commented on the decision by
 the time this article was posted. It can appeal the
 ruling.
 Viasat licensed its SDFEC technology to Acacia
 in 2009, which the coherent transmission
 technology developer used in its first generation
 of coherent DSP ASICs, dubbed Sky. At issue is
 whether Acacia used the IP in its development of
 its next two coherent DSPs, the Denali and
 Meru, and therefore should have paid royalties
 on sales of those products. Acacia claimed it
 didn’t (and therefore didn’t owe Viasat royalties
 it hadn’t paid), while Viasat said Acacia did (in
 part to ensure backward compatibility with the                   5G Mobile

 first-generation DSP), potentially in a manner                   Business
 that violated the original contract.
                                                                  Data Center

 According to an article on Law.com/The                           FTTX

 Recorder, opening statements in the civil jury                   Network
                                                                  Automation
 trial began June 10, 2019. Kenneth Fitzgerald of
 Fitzgerald Knaier, representing Viasat,                          Network
                                                                  Design
 presented evidence he asserted proved that
                                                                  Optical Tech
 Acacia executives were aware that development
                                                                  Test
 of Denali and Meru could fall under the license
 with Viasat. Fitzgerald further argued that                View All Companies >
 Acacia reverse engineered Viasat’s IP to avoid
 having to pay royalties, an act that violated the
 original license agreement.                                                          X



 Conversely, Acacia’s counsel, Michael Albert of
 Wolf Greenfield & Sacks argued that the
Case 8:21-cv-01473-CJC-JDE Document 1-21 Filed 09/08/21 Page 4 of 6 Page ID #:1076
 Wolf, Greenfield & Sacks, argued that the
 SDFEC Acacia used in the Denali (used in optical
 modules such as the AC400) and Meru chips
 (used in its CFP2-DCO optical transceivers) was

 developed in-house, and that whatever traces of
 Viasat IP might be found in them were
 permissible under the original license
 agreement. Furthermore, those traces weren’t
 significant enough to warrant making Acacia pay
 royalties, Albert argued.

 The jury sided with Viasat, although the $49.3
 million in damages is significantly smaller than
 the $288.9 million Law.com/The Recorder
 reports Viasat sought. Nevertheless, a Viasat
 executive proclaimed the company was pleased
 with the result.

 “We appreciate that the jury, in their review of
 the evidence, took corrective actions to ensure
 that the technology we invested years to develop
 will continue to be protected,” said Rick
 Baldridge, Viasat president and COO, via a press
 release announcing the verdict. “Our SDFEC
 technology is the gold standard in the industry
 as evidenced by Acacia’s use of our code in new
 generations of their product, and protecting our
 intellectual property and innovation is vital to
 us. The decision confirms Acacia’s improper                                         X
 infringement of our valuable intellectual
 property rights.”
Case 8:21-cv-01473-CJC-JDE Document 1-21 Filed 09/08/21 Page 5 of 6 Page ID #:1077
 Cisco (NASDAQ: CSCO) recently announced it
 had signed an agreement to buy Acacia for $2.6
 billion (see “Cisco to buy Acacia


 Communications for optical transceiver,
 components play”).

 For related articles, visit the Business Topic
 Center.

 For more information on optical modules and
 suppliers, visit the Lightwave Buyer’s Guide.




            SPONSORED CONTENT
            Learn More

            Better Technology. Better Workforce.
            Learn how All-In-One fiber technology enables your
            efficient.




                                                                                     X




  RELATED
Case 8:21-cv-01473-CJC-JDE Document 1-21 Filed 09/08/21 Page 6 of 6 Page ID #:1078
  RELATED

              Buyer's Guide
              Acacia
              Communications

              Jan 4th, 2019



  VOICE YOUR OPINION




        Sign up for Lightwave eNewsletters

        Email Address                      SIGN UP




                                     Load More Content




                                         About Us
                                        Contact Us
                                        Advertise
                                  California Do Not Sell
                                      Privacy Policy
                                   Terms & Conditions

                 © 2021 Endeavor Business Media, LLC. All rights reserved.



                                                                                     X
